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               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Christopher J. Rodolico, being duly sworn, hereby depose and state the following:

                                    INTRODUCTION

   1. I am a Special Agent (S.A.) with the Federal Bureau of Investigation (FBI), Lansing,

Michigan, United States Department of Justice, and I have been employed as a S.A. of the

FBI for over twelve years. During my employment with the FBI, I have conducted

investigations into a variety of federal criminal laws, and I have significant experience in

enforcement of those laws. I have investigated claims related to online threats as well as

numerous violent crimes. As a federal agent, I am authorized to investigate violations of

laws of the United States and to execute warrants issued under the authority of the United

States.

   2. I make this Affidavit in support of a criminal complaint charging Thomas Osamu

Matsudo with violations of 18 U.S.C. §§ 115(a)(1)(B) (Influencing, Impeding, or

Retaliating Against a Federal Official) and 875(c) (Interstate Communication of Threats).

   3. The statements contained in this Affidavit are based upon information acquired

during my investigation, as well as information provided by others such as police

officers, task force officers, and special agents of the FBI. Because this Affidavit is being

submitted for the limited purpose of establishing probable cause to secure a criminal

complaint, I have not included each and every fact known to me concerning this

investigation. I have set forth only the facts I believe necessary to establish probable cause

Thomas Osamu Matsudo has violated 18 U.S.C. §§ 115(a)(1)(B) (Influencing, Impeding,




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or Retaliating Against a Federal Official) and 875(c) (Interstate Communication of

Threats).

                           SUMMARY OF INVESTIGATION

   4.   On December 14, 2020, the FBI Office of Public Affairs (OPA) forwarded to the

FBI National Threat Operations Center (NTOC) a comment posted on social media by

Facebook username “Tom Matsudo” in which Matsudo makes veiled threats toward FBI

employees. As of December 2020, Matsudo was a repeat complainant to FBI NTOC and

had exhibited escalating behavior in many of his comments on posts by the FBI's

Facebook page.

   5. The FBI's OPA electronically monitors comments directed to the FBI’s 60 plus

social media accounts (Twitter, Facebook, YouTube etc.) which are managed by FBI

Headquarters and Field Offices. If keywords are discovered within a message sent to one

of these social media sites that may indicate a threat, a tip is automatically generated and

sent to the National Threat Operations Center for a credibility assessment.

   6. As of December 2020, Matsudo had made several posts on the FBI Facebook

webpage. Many of the posts were rambling and incoherent. Included in those posts were

- “DEAD POLICE IS JUSTICE,” “Black hat fraud extortion dead police,” “I OWN PEPPER

SPRAY AND GUNS. EXPECT TO BE FACING THE GUN”.

   7. An open source review of the Tom Matsudo Facebook page revealed a post in

which he provided what appears to be his full name as Thomas O. Matsudo.                  A

subsequent LexisNexis Accurint query for Thomas Matsudo revealed one result for

Thomas Osamu Matsudo with date of birth May X, 1991, and a most recent address in

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Haslett/Lansing, MI. An additional review of NTOC's Threat Intake Process System

(TIPS) revealed numerous instances in which Matsudo called NTOC to report

information like that he frequently posts on Facebook.com. In each of his calls to NTOC,

Matsudo provided his date of birth as May X, 1991 and telephone number as 517-896-

1727.

   8. On January 4, 2021, Special Agent (S.A.) Andrew DeCoster, interviewed Thomas

Osamu Matsudo telephonically. During the interview Matsudo acknowledged he was

the owner of the Facebook.com username “Tom Matsudo” and he resided at 3977 Halter

Lane, East Lansing, MI.

   9.   S.A. DeCoster is known as “Drew” to family and friends and refers to himself as

“Drew” during professional contacts also. During the January 4 interview, S.A. DeCoster

referenced himself as “Drew” to Matsudo.

   10. In the interview Matsudo stated he purchased a Mossberg (a gun manufacturer

known to this Agent) and had seven guns. Matsudo stated he had a Concealed License

Permit in Michigan and always carried a Kimber Micro pistol with him.

   11. Following the telephonic interview with S.A. DeCoster, Matsudo requested the

FBI perform a review of his electronic devices. S.A. DeCoster and FBI S.A. Scott Robinson

(also assigned to the East Lansing Resident Agency of the FBI) met with Matsudo,

retrieved his electronic devices, had Matsudo sign a consent to search form, and later

returned the devices to Matsudo.

   12. A Law Enforcement Information Network query showed Matsudo has four pistols

registered to himself. Matsudo also has a Concealed License Permit (known as a CPL).

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   13. On March 27, 2021, S.A. DeCoster received an email from the NTOC regarding a

Facebook post made by Thomas Matsudo.

   14. On March 29, 2021, I went to FBI’s Facebook page and retrieved screenshots of

several of Matsudo’s posts. These are a few of the screenshots I captured:




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   15. Between March 27 and March 29, 2021, Matsudo posted approximately 15 times

to the FBI Facebook.com page and made five references to “Drew” and the “BTCH that

asked me to stop commenting on FBI post.”

   16. The five aforementioned posts were similar to the above quoted posts with slight

variations.

   17. On December 21, 2020, Matsudo was issued a speeding ticket from the Meridian

Township Police Department, (MI), Matsudo was driving the 2019 Chevrolet Camaro,

MI license plate HAWAII1.

   18. On March 29, 2021, at approximately 4:09 p.m., FBI S.A. Whitney Mitchell

observed a dark-colored Chevrolet Camaro with license plate HAWAII1 in the driveway

at 3977 Halter Lane, East Lansing, Michigan.

                                    CONCLUSION

   19. Based on all information set forth above, your Affiant submits there is probable

cause to believe that Thomas Osamu Matsudo has violated 18 U.S.C. §§ 115(a)(1)(B)

(Influencing, Impeding, or Retaliating Against a Federal Official) and 875(c) (Interstate

Communication of Threats).




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